           Case 2:20-cv-04801-AB Document 75 Filed 05/25/23 Page 1 of 1




           IN THE UNITED STATES DISTRICT COURT FOR THE
                EASTERN DISTRICT OF PENNSYLVANIA

HESHAM ISMAIL,
    Plaintiff,                        :
                                      :           CIVIL ACTION
      v.                              :           NO. 20-4801
                                      :
IHI POWER SERVICES CORP.,
et al
      Defendants.                     :

                                    ORDER

      AND NOW, this 25th day of May, 2023, it is ORDERED that Plaintiff’s

Motion for an Award of Reasonable Attorneys’ Fees and Costs (ECF No. 67) is

resolved as follows:

      1. Defendant is ordered to pay attorneys’ fees in the amount of $234,733.03

           and

      2. Defendant is ordered to pay expenses in the amount of $5,366.89.




                                      ___S/Anita B. Brody_________
                                      ANITA B. BRODY, J.




Copies VIA ECF
